Case 5:19-cv-00548-CEM-PRL Document 163 Filed 06/24/20 Page 1 of 5 PageID 3133



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION

 CHERYL WEIMAR,
        Plaintiff,

 v.                                            CASE NO.: 5:19-cv-548-CEM-PRL

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, KEITH TURNER,
 and RYAN DIONNE,
      Defendants.
 ________________________________/

      PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE REPLY
           IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

        COMES NOW, Plaintiff, Cheryl Weimar, by and through the undersigned

 counsel, and pursuant to M.D. Fla. Loc. R. 3.01(d), respectfully seeks leave file

 Reply in Support of Her Motion for Protective Order, and states as follows:

        1.    On June 9, 2020, Plaintiff filed her Motion for Protective Order against

 FDC. ECF No. 157.

        2.    On June 23, 2020, FDC Filed its Response in Opposition. ECF No. 162.

        3.    Upon review of FDC’s Response, Plaintiff now seeks leave to file a

 Reply in order to address arguments raised in FDC’s Response that were not

 addressed in Plaintiff’s Motion or otherwise extend beyond the matters addressed in

 Plaintiff’s Motion. Specifically, (1) FDC mischaracterizes Plaintiff’s arguments and

 the supporting factual basis, including how Darlene Monk and Karl Weimar have no

                                          1
Case 5:19-cv-00548-CEM-PRL Document 163 Filed 06/24/20 Page 2 of 5 PageID 3134



 personal knowledge concerning the issues remaining in the case; (2) FDC

 mischaracterizes the State Court’s ruling concerning Darlene Monk’s testimony,

 which was not based on whether Ms. Monk had relevant information, but rather

 whether the priest penitent privilege applied to all of their communications; (3) omits

 critical documents and communications between the Parties which undercut the new

 arguments FDC raised in its response; (4) FDC omits, whether by design or by

 accident, the Plaintiff’s medical condition when Ms. Monk visited her on August 24,

 2019 (she was in a medically induced coma and on a ventilator), (5) and

 mischaracterizes Plaintiff's arguments to suggest that somehow a State Court

 overruled some argument that is currently being made by Plaintiff, which is simply

 inaccurate at best.

       4.     The reply has already been drafted, is approximately 2100 words, and

 can be filed on the same day as the Court’s Order granting leave to file the reply so

 as not to delay a ruling on this matter, to the extent the Court does in fact grant leave

 for such reply. Further, the reply requests a case management conference or hearing

 on this Motion, the Motion for Extension of Discovery Deadlines, and FDC’s

 pending Motion for Stay so that the matters can be argued to the Court together as

 they are all somewhat interrelated due to FDC’s Motion for Stay.

       5.     Counsel for Plaintiff has conferred with counsel for FDC, who advised

 that FDC does not oppose Plaintiff’s request for leave to file a Reply.


                                            2
Case 5:19-cv-00548-CEM-PRL Document 163 Filed 06/24/20 Page 3 of 5 PageID 3135



       6.     Plaintiff has demonstrated good cause for requesting leave to file a

 Reply based on the new arguments and issues raised in FDC’s Response.

       WHEREFORE, Plaintiff respectfully moves this Court for an Order granting

 Plaintiff leave to file a Reply in support of her Motion for Adverse Inferences.




                           [Signatures on following page]




                                           3
Case 5:19-cv-00548-CEM-PRL Document 163 Filed 06/24/20 Page 4 of 5 PageID 3136



                                       Respectfully submitted,

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                                       /s/ Ryan J. Andrews
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                                       Counsel for Plaintiff

                     LOCAL RULE 3.01(g) CERTIFICATE
       Pursuant to Rule 3.01(g) of the Local Rules of the Middle District of Florida,

 the undersigned has conferred in writing with counsel for Defendant FDC regarding

 this Motion, and reports that Defendant FDC does not oppose the relief requested

 herein.

                                       /s/ Ryan J. Andrews
                                       RYAN J. ANDREWS




                                          4
Case 5:19-cv-00548-CEM-PRL Document 163 Filed 06/24/20 Page 5 of 5 PageID 3137



                             CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that on this 24th day of June, 2020, a true and correct copy

 of the foregoing was electronically filed in the U.S. District Court, Middle District

 of Florida, using the CM/ECF system, which will send a notice of electronic filing

 to all counsel of record.

                                        /s/ Ryan J. Andrews
                                        RYAN J. ANDREWS




                                          5
